                         Case 2:13-cv-00193 Document 775-22 Filed on 11/19/14 in TXSD Page 1 of 2
    From                                        Rodriguez             Tony
    To                                          Winkley             Salestus        Berkley      Johnnie

    CC                                          Bell       Stephen       Watkins          Paul Peters Joe Mastracchio                            JoeAnna

    Sent                                        1112013 63230 PM
    Subject                                     Fwd         locations




Folks
Dallas County called                     SOS at 1620                  asking for EIC operations on the dates and locations below

This needs to happen

Let        me know        if   there are roadblocks



Tony Rodriguez
Senior Manager

Office          5124245657
Cell         5127399709


Begin forwarded message


From Wroe Jackson <SJackson sostexasgov>
Date November 1 2013 171407 CDT
To Rodriguez                    Tony TonyRodriguezdpstexasgov                                                 <TonyRodriguez dpstexasgov>
Cc Keith Ingram <Kingramsostexas gov>
Subject            FW locations

Tony


Please          see below for the requested                             Dallas        County locations and times As we discussed                                          I   would                   like   to offer the

following          for    DPS to be present                         at the    requested          locations       on Tuesday              5 November through                                    Friday 8 November and

on Tuesday              12 November and                         ONLY on our agreed upon hours                             of   9   am to 4 pm Please                          let                   me know    if   this   is


acceptable



Thanks
Wroe



Wroe Jackson
General Counsel



                          w
Texas Secretary                of State

5124635770                       5124752761                     f
wiacksoncsostexasgov


    The   information   contained   in   this        email is   for reference      purposes   ONLY and is not intended           to   serve   as legal    advice   for   any matter Any copying                       use or
distribution     of any information       or materials by or to          anyone       other   than   the recipients   listed   above    is   prohibited   Nthout   express             authorization          from   the   sender



Please note              my new email address effective                                       immediately wfacksonsostexasgov



From Toni PippinsPoole                               ma iltoToni Pi          iii    nsPooledal lascountyorg
Sent Friday November 01 2013 426 PM
To Keith Ingram
Cc Wroe Jackson                  Robert Heard

Subject            RE    locations
                                                                                                                                                  2:13-cv-193
                                                                                                                                                                               exhibitsticker.com




                                                                                                                                                  09/02/2014
Sorry
I

     thought      that Staff        sent        it    to   you                                                                                   DEF1457
Let       me know        if
                               you have any questions




                                                                                                                                                                                                                                TEX0506952
                   Case 2:13-cv-00193 Document 775-22 Filed on 11/19/14 in TXSD Page 2 of 2
Toni




                            JOINT DALLAS COUNTYDPS EIC LOCATIONS FOR
                                                 November     5th   12th 2013
                                                                    Garland    Government Center               Tax Office   Main
North    Dallas    Government Center            Tax Office
                                                                    Lobby Area
Main Lobby Area
                                                                    140   N Garland Avenue
10056    Marsh Lane
                                                                    Garland    Texas   75040
         Texas     75229
Dallas

Time    of Operation       10   am     7   pm each week day
                                                                    Time of Operation         10    am     7   pm each week
                                                                    day



                                                                    Dallas   County Health           Human Services         Bldg
Grand    Prairie    Government Center            Tax Office
                                                                    Main Lobby Area
Main Lobby Area
                                                                    2377 N Stemmons Freeway
106    W Church     Street
                                                                              Texas   75207
                                                                    Dallas
Grand Prairie Texas            75050
                                                                    Time of Operation     9 am    7 pm each week day
Time                            am         pm each week day              am
        of Operation       8           5
                                                                    10          2   pm on Saturday Sunday




From Keith Ingram mailtoKingramsostexasAov
Sent Friday November 01 2013 325 PM
To Toni PippinsPoole
Cc Wroe Jackson
Subject     locations




Any luck on       locations     Tuesday     through   Friday next week and Tuesday            the   12th




                                                                                                                                   TEX0506953
